Case 2:15-ml-02668-PSG-SK Document 913 Filed 04/05/23 Page 1 of 4 Page ID #:29180



    1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
        mseltzer@susmangodfrey.com               hlanger@langergrogan.com
    2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
        1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
    3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
        Phone: (310) 789-3100                    Tel: (215) 320-5660
    4   Fax: (310) 789-3150                      Fax: (215) 320-5703
    5   Scott Martin (Pro Hac Vice)
        smartin@hausfeld.com
    6   HAUSFELD LLP
        33 Whitehall Street, 14th Floor
    7   New York, NY 10004
        Tel: (646) 357-1100
    8   Fax: (2121) 202-4322
    9
        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
   11

   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 DISCOVERY MATTER
   17   THIS DOCUMENT RELATES TO
        ALL ACTIONS                              PLAINTIFFS’ APPLICATION
   18                                            UNDER LOCAL RULE 79-5 TO
                                                 FILE DOCUMENTS UNDER SEAL
   19
                                                 Magistrate Judge: Hon. John E.
   20                                            McDermott
                                                 Date/Time: 5/2/2023, 10:00 a.m.
   21                                            Discovery Cutoff Date: 8/5/2022
                                                 Pretrial-Conference Date: 2/9/2024
   22                                            Trial Date: 2/22/2024
   23

   24

   25

   26

   27

   28
Case 2:15-ml-02668-PSG-SK Document 913 Filed 04/05/23 Page 2 of 4 Page ID #:29181



    1         TO THE ABOVE-CAPTIONED COURT AND TO DEFENDANTS AND
    2   THEIR COUNSEL OF RECORD:
    3         PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), Plaintiffs,
    4   by and through their counsel of record, hereby submit this application requesting
    5   that the Court lodge provisionally under seal the following documents (lodged
    6   concurrently herewith):
    7            1. The sealed Declaration of Tyler Finn in Support of Plaintiffs’
    8               Application to File Documents Under Seal.
    9            2. The unredacted version of the Joint Stipulation Regarding Plaintiffs’
   10               Motion to Compel Discovery on the New Sunday Ticket Agreement.
   11            3. The unredacted version of the Declaration of Tyler Finn in support of
   12               the Joint Stipulation Regarding Plaintiffs’ Motion to Compel
   13               Discovery     on   the   New   Sunday   Ticket   Agreement    (“Finn
   14               Declaration”).
   15            4. Exhibit 3 to the Finn Declaration.
   16            5. Exhibit 5 to the Finn Declaration.
   17            6. Exhibit 6 to the Finn Declaration.
   18            7. Exhibit 7 to the Finn Declaration.
   19            8. The unredacted version of the Declaration of Jeremy Barber in
   20               Support of the NFL Defendants’ Opposition to Plaintiffs’ Motion to
   21               Compel (“Barber Declaration”).
   22            9. Exhibit 6 to the Barber Declaration.
   23            10. Exhibit 13 to the Barber Declaration
   24         Pursuant to correspondence regarding confidentiality issues, the NFL
   25   Defendants and Apple requested that Plaintiffs move the Court to seal and redact
   26   the designated documents.
   27

   28
Case 2:15-ml-02668-PSG-SK Document 913 Filed 04/05/23 Page 3 of 4 Page ID #:29182



    1

    2   DATED: April 5, 2023               By: /s/ Tyler Finn
                                              Tyler Finn
    3
                                              Marc M. Seltzer (54534)
    4                                         mseltzer@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P.
    5                                         1900 Avenue of the Stars, Suite 1400
                                              Los Angeles, CA 90067
    6                                         Tel: (310) 789-3100
                                              Fax: (310) 789-3150
    7
                                              William C. Carmody (Pro Hac Vice)
    8                                         bcarmody@susmangodfrey.com
                                              Seth Ard (Pro Hac Vice)
    9                                         sard@susmangodfrey.com
                                              Tyler Finn (Pro Hac Vice)
   10                                         tfinn@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P
   11                                         1301 Avenue of the Americas, 32nd Fl.
                                              New York, NY 10019
   12                                         Tel: (212) 336-8330
                                              Fax: (212) 336-8340
   13
                                              Ian M. Gore (Pro Hac Vice)
   14                                         igore@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P.
   15                                         401 Union Street, Suite 3000
                                              Seattle, WA 98101
   16                                         Tel: (206) 505-3841
                                              Fax: (206) 516-3883
   17
                                              Armstead Lewis (Pro Hac Vice)
   18                                         alewis@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P.
   19                                         1000 Louisiana, Suite 5100
                                              Houston, TX 77002
   20                                         Tel: (713) 651-9366
                                              Fax: (713) 654-6666
   21
                                              Scott Martin (Pro Hac Vice)
   22                                         smartin@hausfeld.com
                                              HAUSFELD LLP
   23                                         33 Whitehall Street, 14th Floor
                                              New York, NY 10004
   24                                         Tel: (646) 357-1100
                                              Fax: (212) 202-4322
   25
                                              Christopher L. Lebsock (184546)
   26                                         clebsock@hausfeld.com
                                              Samuel Maida (333835)
   27                                         smaida@hausfeld.com
                                              HAUSFELD LLP
   28                                         600 Montgomery St., Suite 3200
                                              San Francisco, CA 94111
                                              Tel: (415) 633-1908
Case 2:15-ml-02668-PSG-SK Document 913 Filed 04/05/23 Page 4 of 4 Page ID #:29183


                                              Fax: (415) 633-4980
    1
                                              Sathya S. Gosselin (269171)
    2                                         sgosselin@hausfeld.com
                                              Farhad Mirzadeh (Pro Hac Vice)
    3                                         fmirzadeh@hausfeld.com
                                              HAUSFELD LLP
    4                                         888 16th Street, N.W., Suite 300
                                              Washington, DC 20006
    5                                         Tel: (202) 540-7200
                                              Fax: (202) 540-7201
    6
                                              Howard Langer (Pro Hac Vice)
    7                                         hlanger@langergrogan.com
    8
                                              Edward Diver (Pro Hac Vice)
                                              ndiver@langergrogan.com
    9                                         Peter Leckman (235721)
                                              pleckman@langergrogan.com
   10                                         Kevin Trainer (Pro Hac Vice)
                                              ktrainer@langergrogan.com
   11                                         LANGER GROGAN AND DIVER PC
                                              1717 Arch Street, Suite 4020
   12                                         Philadelphia, PA 19103
                                              Tel: (215) 320-5660
   13                                         Fax: (215) 320-5703

   14                                         Plaintiffs’ Co-Lead Counsel
   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
